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IN THE UNITED sTATEs DISTRICT COU JW D_ g
FOR THE WESTERN DISTRICT OF TENN|E d
WESTERN DIVI 0 .
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UNITED STATES OF AMER_ICA )
Plaintiff, §
VS § CR. NO. 04-20216-M1
KELLI POLLARD §
Defendant. ))
ORDER TO SURRENDER

 

The defendant, Kelli Pollard, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FMC LEXINGTON,
3301 Leestown Road, Lexington, KY 40511 by 2:00 p.m. on FRIDAY, AUGUST 5, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oftice of the Clerk, Federal Offlce Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the 15 day ofJuly, 2005.

.,Q m wl

PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

Th°rs document entered on the docket sheet In ccrnp|lanee

with ama 55 and/or s2(b) Fach on 12- /I'Oé’

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED sTATE DRISTIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-202]6 Was distributed by faX, mail, or direct printing on
July lS, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

